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                 Exhibit M
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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,                    Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                   Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as            Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                    Consolidated with
                                                    Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.



             EXPERT REPORT OF M.V. HOOD III FOR REMEDIAL PHASE
I, M.V. Hood III, affirm the conclusions I express in this report are provided to a reasonable degree
of professional certainty. In addition, I do hereby declare the following:
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I. INTRODUCTION AND BACKGROUND

My name is M.V. (Trey) Hood III, and I am a tenured professor at the University of Georgia with
an appointment in the Department of Political Science. I have been a faculty member at the
University of Georgia since 1999. I also serve as the Director of the School of Public and
International Affairs Survey Research Center. I am an expert in American politics, specifically in
the areas of electoral politics, racial politics, election administration, and Southern politics. I teach
courses on American politics, Southern politics, and research methods and have taught graduate
seminars on the topics of election administration and Southern politics.

I have received research grants to study election administration issues from the National Science
Foundation, the Pew Charitable Trust, and the Center for Election Innovation and Research. I have
also published peer-reviewed journal articles specifically in the area of election administration,
including redistricting. My academic publications are detailed in a copy of my vita that is attached
to the end of this report. Currently, I serve on the editorial boards for Social Science Quarterly and
Election Law Journal. The latter is a peer-reviewed academic journal focused on the area of
election administration.

During the preceding five years, I have offered expert testimony (through deposition or at trial) in
ten cases around the United States: League of Women Voters v. Gardner, 226-2017-cv-00433
(Hillsborough Superior Court), Ohio A. Philip Randolph Institute v. Ryan Smith, 1:18-cv-357 (S.D.
Ohio), Libertarian Party of Arkansas v. Thurston, 4:19-cv-00214 (E.D. Ark.); Chestnut v. Merrill,
2:18-cv-907 (N.D. Ala.), Common Cause v. Lewis, 18-CVS-014001 (Wake County Superior
Court); Nielsen v. DeSantis, 4:20-cv-236 (N.D. Fla.); Western Native Voice v. Stapleton, DV-56-
2020-377 (Montana Thirteenth Judicial District Court); Driscoll v. Stapleton, DV-20-0408
(Montana Thirteenth Judicial District Court); North Carolina v. Holmes, 18-CVS-15292 (Wake
County Superior Court); and Caster v. Merrill, 2:21-cv-1536 (S.D. Ala).

I am receiving $400 an hour for my work on this case and $400 an hour for any testimony
associated with this work. In reaching my conclusions, I have drawn on my training, experience,
and knowledge as a social scientist who has specifically conducted research in the area of
redistricting. My compensation in this case is not dependent upon the outcome of the litigation or
the substance of my opinions.


II. SCOPE AND OVERVIEW
I have been asked by counsel for Legislative Intervenors to provide a number of comparisons for
a proposed remedial Louisiana congressional plan requested by the Court. In Section III, I examine
district congruity using both population and geography-based comparisons. Section IV surveys
district racial composition. 1 Finally, Section V presents a series of congressional district maps for
various parishes under both the enacted and proposed remedial plans.
Note: Throughout this report I refer to different congressional plans. The plan challenged in this



1
    Data relied upon to compile this report were received through counsel.


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matter is referred to as the enacted plan, or the 2022 plan. The previous plan from 2011 is the
benchmark plan. Plaintiffs’ proposed plan requested by the Court is labeled as the proposed
remedial plan.

III. DISTRICT CONGRUITY ANALYSES
District core retention is one method available to compare two districting plans. 2 In Table 1, core
retention is measured as the percentage of the population in a new district carried over from the
corresponding 2011 (benchmark) district. As such, district core retention is a measure that ranges
from 0 to 100. 3 The higher the percentage, the more a district is representative of its former self.
For example, CD 3 in the enacted plan is comprised in whole from CD 3 in the benchmark plan,
producing a core retention score of 100%. 4 Table 1 also presents mean (average) core retention
values for the enacted and proposed remedial plans along with the standard deviation and range.

Table 1. District Core Retention Comparisons
    District   Enacted          Proposed
                                Remedial
       1        97.9%            75.4%
       2        98.8%            80.5%
       3        100%             74.9%
       4        93.8%            72.3%
       5        89.1%            49.1%
       6        98.5%            62.0%

    Mean         96.4              69.0
     S.D.         4.1              11.5
    Range        10.9              31.4




2
  The presence of a district core is closely linked to incumbent electoral success and, as such, is
an important element related to protecting incumbents across a redistricting cycle. Retaining a
population core representative of an incumbent’s previous constituency helps ensure that voters
keep the responsibility for reelecting, or not, the incumbent who has represented them.
3
  The calculations in Table 1 are based on total population.
4
  CD 3 was slightly larger than the ideal district size in 2020. As such, a small number of
residents were shifted to CD 4 and CD 6 under the 2020 plan. The remainder of old CD 3
residents comprise the new CD 3.


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Looking at the core retention scores for the enacted 2022 plan, most districts appear to be a close
approximation of their corresponding configurations from the benchmark plan. The core retention
scores for all six districts are housed in a narrow range from 89.1% to 100%. The mean (average)
core retention score is 96.4%. Core retention for the proposed remedial plan is lower as evidenced
by its mean score of 69.0. Comparing the core retention value for each district in the enacted plan
to the corresponding district in the proposed remedial plan indicates higher core retention scores
for the enacted districts as compared to the proposed remedial districts. For example, CD 5 in the
enacted plan has a core retention score of 89.1%, as compared to CD 5 in the proposed remedial
plan which has a score of 49.1%. Comparing the standard deviation statistics between the enacted
and the proposed remedial plan indicates a higher degree of variance for core retention in the
proposed remedial plan. In sum, under the enacted plan, 96% of constituents will have the ability
to return their previous incumbent to office if they so choose. In contrast, the proposed remedial
plan allows only 69% of constituents this same opportunity.

Another way to compare districts across different plans relies on what is known as the Similarity
Index (S.I.). 5 While core retention can give one a sense of population shared between two districts,
I will employ the Similarity Index in an effort to determine the degree to which districts from two
different plans share a common geography. As with the core retention measure, the Similarity
Index ranges from 0% to 100%. The higher the score, the more geographic overlap exists between
the two districts under examination. The index relies on the following formula:

                                          S.I. = c/(p+n-c)
where
c represents the total number of square meters the old district shares with the new district;
p is the total number of square meters in the old district;
and
n is the total number of square meters in the new district

Table 2 compares the shared geography between the enacted and the proposed remedial plans to
the benchmark plan using the Similarity Index. For the enacted plan, the average S.I. score is 88.3
which demonstrates a high degree of geographic congruence between the benchmark plan and the
2022 plan. With the exception of CD 6 (64.4%), the remaining five districts have S.I. scores that
fall in the range from 87.8% to 99.3%. The mean value for the S.I. is 88.3%. Again, this is an
indication, geographically speaking, that the congressional districts in the 2022 enacted plan
strongly resemble the previous districts from the benchmark plan. S.I. scores for districts in the
proposed remedial plan range from a low of 17.2% to a high of 59.8%, producing an overall
average score of 43.5.

Comparing things on a district-by-district basis demonstrates that each district in the enacted plan
has a higher Similarity Index score than the corresponding district in the proposed remedial plan.
Stated concisely, districts in the enacted plan are more geographically congruent with their



5
 The Similarity Index is detailed in Gary W. Cox and Jonathan N. Katz. 2002. Elbridge Gerry’s
Salamander: The Electoral Consequences of the Reapportionment Revolution. Cambridge:
Cambridge University Press (pp. 15,17).


                                                 3
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corresponding district configurations from the benchmark plan than are the districts from the
proposed remedial plan.

Table 2. District Comparisons-Geographic Similarity Index
    District      Enacted         Proposed
                                  Remedial
       1           88.4%            59.8
       2           99.3%            35.7
       3           95.9%            46.8
       4           94.2%            51.4
       5           87.8%            49.8
       6           64.4%            17.2

    Mean            88.3            43.5
     S.D.           12.5            15.0
    Range           35.0            42.6

Summary. This section has demonstrated that in terms of both population and geography, the
benchmark and enacted plans are highly congruent. On these same metrics the proposed remedial
plan deviates to a greater degree from the benchmark plan.


IV. DISTRICT RACIAL COMPOSITION
In this section I document the percentage of Black population contained within each congressional
district for the benchmark, enacted, and the proposed remedial plan based on 2020 Census data. 6
For these comparisons I calculate the percentage of the total population (Table 3) and the voting
age population (Table 4) that is Black as defined by the U.S. Department of Justice. 7 The DOJ
definition of Black combines all single-race Black identifiers who are also non-Hispanic with
everyone who is non-Hispanic and identifies as white and Black. Specifically, the percentage of
Blacks in the total population would be calculated as follows:

               [Non-Hispanic, Black + Non-Hispanic, White and Black] / Total Population

Comparing the percentage Black in districts across the benchmark and enacted plans in Table 3
demonstrates a great degree of congruence. The absolute difference, by district, ranges from 0.0
to 1.3, producing an average difference of only 0.48. Looking at the proposed remedial plan, there
is a greater degree of variance with absolute difference values ranging from 1.5 to 19.3, for an
average difference of 7.5.

6
 The figures for the benchmark plan presented in Tables 3 and 4 use 2020 Census data.
7
 Additional documentation on this measure can be found at: “Guidance under Section 2 of the
Voting Rights Act, 52 U.S.C. 10301, for redistricting and methods of electing government
bodies.” U.S. Department of Justice. September 1, 2021 and “OMB Bulletin No. 00-02-Guidance
on Aggregation and Allocation of Data on Race for Use in Civil Rights Monitoring and
Enforcement.” Office of Management and Budget. March 9, 2000.


                                                  4
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Using total Black population, there is one majority black district in both the benchmark and the
enacted plans (CD 2 with a Black population of 59.1%). For the proposed remedial plan there are
two majority Black districts (CD 2 and CD 5) ranging from 51.6% to 53.7% Black population.

Table 3. District Percentage Black Comparisons, 2020 Total Population
 District   Benchmark        Enacted         Proposed
                                             Remedial
    1         15.0%           13.7%           17.3%
    2         59.1%           59.1%           51.6%
    3         25.5%           25.7%           19.4%
    4         34.4%           34.9%           32.9%
    5         34.4%           34.4%           53.7%
    6         25.6%           24.7%           17.6%

Table 4 examines the Black voting age population by district across the three plans. Again, the
percentages for the benchmark and enacted plans are remarkably similar. In absolute value terms
the differences across these two plans range from 0.1% to 1.2%, for an average difference of 0.5%
across all six districts. Comparing the proposed remedial plan to the benchmark plan reveals a
much greater degree of divergence on district racial composition. For example, comparing the
proposed remedial to the benchmark plan, the Black VAP differences by district in absolute value
terms range from 1.3 to 18.7, with a mean difference of 7.2.
Based on voting age population, both the benchmark and enacted plans contain one majority-Black
district, CD 2, at 57.0% Black in both plans. The proposed remedial plan also contains a single
majority-black district (CD 5 at 51.1%). District 2, at 49.7%, in the proposed remedial plan falls
short of being a majority-black district.

Table 4. District Percentage Black Comparisons, 2020 Voting Age Population
 District   Benchmark        Enacted        Proposed
                                            Remedial
    1         13.7%           12.5%          16.0%
    2         57.0%           57.0%          49.7%
    3         23.8%           23.9%          17.9%
    4         32.6%           33.1%          31.3%
    5         32.4%           32.3%          51.1%
    6         24.1%           23.3%          16.4%

Summary. In terms of district racial composition, the 2022 enacted plan is highly analogous with
the 2011 benchmark plan. There was a single majority-Black district in both districting schemes.
As well, the proposed remedial plan only contains a single majority-black voting age population
district (CD 5) with Black VAP considerably lower than CD 2 under the enacted plan (51.1% vs.
57.0% respectively).




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V. MAPS
I was also asked by counsel to produce a set of maps for any parish split across congressional
districts under the proposed remedial plan, but not under the enacted plan. Using this criterion, in
this section I present congressional district maps for the following parishes: Ouachita, Rapides,
Vernon, Lafayette, St. Tammany, and Iberia (Full-page maps are also appended to the end of my
report). Figures 1 through 12 plot the aforementioned parishes under the enacted and proposed
remedial congressional districting plans. In addition to Parish boundary lines, these maps also
feature incorporated areas, as well as census designated places. 8




8
  In these maps Census designated places (CPDs) are “statistical geographic entities representing
closely settled, unincorporated communities that are locally recognized and identified by name.”
Source: “Census Designated Places (CPDs) for the 2020 Census-Final Criteria” at
https://www.federalregister.gov/documents/2018/11/13/2018-24571/census-designated-places-
cdps-for-the-2020-census-final-criteria. Mapping files obtained from the U.S. Census Bureau
(https://www.census.gov/geographies/mapping-files.html). Congressional plan shapefiles
received through counsel.


                                                 6
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Ouachita Parish
Figure 1 details Ouachita Parish under the enacted districting plan. Enacted plan district boundaries
are displayed as green lines. Under the enacted plan, Ouachita Parish is wholly contained within
CD 5.




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Ouachita Parish under the proposed remedial plan is displayed in Figure 2. Here, district
boundaries are presented as red lines. Under the proposed remedial plan, Ouachita Parish would
be split into two congressional districts: CD 4 and CD 5. By VAP, 57.3% of the population would
fall into CD 4 and 42.7% into CD 5. Within the parish, the Cities of Monroe and West Monroe
would be split across these two districts, as well as the census designated places of Brownsville
and Swartz. The City of Monroe would be split 23.5% into CD 4 and 76.5% into CD 5. West
Monroe City is split 61.7% into CD 4 and 38.3% into CD 5 under the proposed remedial plan.




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Rapides Parish
Rapides Parish under the enacted plan is presented in Figure 3. Under this plan, the totality of
Rapides Parish is located in CD 5.




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Under the proposed remedial plan (Figure 4) Rapides Parish is split between congressional district
3 and congressional district 5. Based on voting age population, 53.8% of Rapides Parish would be
located in CD 3 and the remaining 42.7% in CD 5. Within the Parish, the cities of Alexandria and
Pineville are also divided across CDs 3 and 5. The City of Alexandria would be divided 30.8%
(CD 3) and 69.2% (CD 5); whereas the City of Pineville would be divided 34.5% (CD 3) and
65.5% (CD 5).




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Vernon Parish
For these maps, in addition to Census-designated places and incorporated areas, I have also plotted
the boundaries for the Ft. Polk military installation using a gray cross-hatched pattern. Vernon
Parish under the enacted plan is displayed in Figure 5. Here, the parish in its entirety is located
within CD 4.




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In Figure 6, one can see that Vernon Parish would be divided across CD 4 and CD 3 under the
proposed remedial plan. Under this plan 67.5% of the voting age population of Vernon Parish
would be found in CD 3 and 32.5% in CD 4. In addition, within the parish the proposed remedial
plan would also split the Ft. Polk military base as well as the City of Leesville and the Town of
New Llano. Leesville would be divided 36.3% into CD 3 and 63.7% into CD 4.




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Lafayette Parish
Figure 7 presents Lafayette Parish under the enacted map where is it keep intact within
congressional district 3.




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Under the proposed remedial plan (Figure 8), the parish would be split between CDs 3 and 5. By
voting age population, 72.8% of Lafayette Parish would be located in CD 3 and 27.2% in CD 5.
Within the Parish, the Cities of Lafayette and Scott would also be bifurcated between districts 3
and 5. The City of Lafayette would be divided 70.9% into CD 3 and 29.1% into CD 5 by voting
age population, while the City of Scott would be split 91.8% into CD 3 and 8.2% into CD 5.




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St. Tammany Parish
Figure 9 examines St. Tammany Parish under the enacted plan. Under this plan, St. Tammany
would be kept whole within the 1st congressional district.




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In Figure 10, the parish, under the proposed remedial plan, would be divided almost evenly by
voting age population between CD 1 (48.8%) and CD 6 (51.2%). Within the parish, the proposed
remedial plan would split the City of Mandeville and the Census-designated place of Lewisburg.
The City of Mandeville would be split 54.3% into CD 1 and 45.7% into CD 6.




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Iberia Parish
Finally, Figures 11 and 12 detail Iberia Parish under the enacted and proposed remedial plan
respectively. Under the enacted plan Iberia Parish is wholly contained within CD 3, while under
the proposed remedial plan 46.4% of the voting age population would be located in CD 2 and
53.6% in CD 3. Under the proposed remedial plan, one city, New Iberia, is also split (67.7% in
CD 2 and 32.3% in CD 3).




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VI. DECLARATION

I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct to the best of my knowledge.


Executed on June 27, 2022.




                                              ___________________________________

                                              M.V. (Trey) Hood III

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                                             EXHIBIT A
                                       Curriculum Vitae
                                         (June 2022)


M.V. (Trey) Hood III

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Academic Positions:
University of Georgia
   Director, SPIA Survey Research Center, 2016-present
   Director of Graduate Studies, 2011-2016
   Professor, 2013-present
   Associate Professor, 2005-2013
   Assistant Professor, 1999-2005
Texas Tech University
   Visiting Assistant Professor, 1997-1999


Education:
Ph.D.    Political Science       Texas Tech University             1997
M.A.     Political Science       Baylor University                 1993
B.S.     Political Science       Texas A&M University              1991


Peer-Reviewed Books:
Rural Republican Realignment in the Modern South: The Untold Story. 2022.
   Columbia, SC: The University of South Carolina Press. (Seth C. McKee, co-author).

The Rational Southerner: Black Mobilization, Republican Growth, and the Partisan
   Transformation of the American South. 2012. New York: Oxford University Press.
   (Quentin Kidd and Irwin L. Morris, co-authors).
   [Softcover version in 2014 with new Epilogue]


Peer-Reviewed Publications:
“Partisan Schism in America’s Newest Swing State.” Forthcoming 2023. Party Politics. (Seth C.
   McKee, co-author).




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   Science Quarterly 102(1): 259-268. (Charles S. Bullock, III, co-author).

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   Politics, Groups, and Identities 10(1): 100-116. (Christopher Cooper, Scott H. Huffmon,
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  First). Journal of Elections, Public Opinion & Parties. (Seth C. McKee, co-author).

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  their Impact on the 2018 Gubernatorial Election.” 2019. Social Science Quarterly 100(5):
  1828-1847. (Seth C. McKee, co-author).

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   Statute." 2019. Political Research Quarterly 73(2): 492-505. (Scott E. Buchanan, co-author).

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   13. (Jamie Monogan, co-author).

“The Comeback Kid: Donald Trump on Election Day in 2016.” 2019. PS: Political Science and
   Politics 52(2): 239-242. (Seth C. McKee and Daniel A. Smith, co-authors).

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   2017-2018. Florida Political Chronicle 25(2): 123-141. (Seth C. McKee and Daniel A.
   Smith, co-authors).

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   15(2): 291-312. (Seth C. McKee and Ian Ostrander, co-authors).

“From Legal Theory to Practical Application: A How-To for Performing Vote Dilution
   Analyses." 2018. Social Science Quarterly 99(2): 536-552. (Peter A. Morrison and Thomas
   M. Bryan, co-authors).

“Race, Class, Religion and the Southern Party System: A Field Report from Dixie.” 2016. The
   Forum 14(1): 83-96.

"Black Votes Count: The 2014 Republican Senate Nomination in Mississippi." 2017. Social
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"Sunshine State Dilemma: Voting for the 2014 Governor of Florida." 2015. Electoral Studies 40:
   293-299. (Seth C. McKee, co-author).

“Tea Leaves and Southern Politics: Explaining Tea Party Support Among Southern
   Republicans.” 2015. Social Science Quarterly 96(4): 923-940. (Quentin Kidd and Irwin
   L. Morris, co-authors).

“True Colors: White Conservative Support for Minority Republican Candidates.” 2015.
   Public Opinion Quarterly 79(1): 28-52. (Seth C. McKee, co-author).

“Race and the Tea Party in the Old Dominion: Split-Ticket Voting in the 2013 Virginia
   Elections.” 2015. PS: Political Science and Politics 48(1):107-114. (Quentin Kidd and Irwin
   L. Morris, co-authors).

“The Damnedest Mess: An Empirical Evaluation of the 1966 Georgia Gubernatorial Election.”
   2014. Social Science Quarterly 96(1):104-118. (Charles S. Bullock, III, co-
   author).

“Candidates, Competition, and the Partisan Press: Congressional Elections in the Early
   Antebellum Era.” 2014. American Politics Research 42(5):670-783. (Jamie L. Carson, co-
   author).
   [Winner of the 2014 Hahn-Sigelman Prize]

“Strategic Voting in a U.S. Senate Election.” 2013. Political Behavior 35(4):729-751. (Seth C.
    McKee, co-author).

“Unwelcome Constituents: Redistricting and Countervailing Partisan Tides." 2013.
   State Politics and Policy Quarterly 13(2):203-224. (Seth C. McKee, co-author).

“The Tea Party, Sarah Palin, and the 2010 Congressional Elections: The Aftermath of the
   Election of Barack Obama.” 2012. Social Science Quarterly 93(5):1424-1435. (Charles S.
   Bullock, III, co-author).

“Much Ado About Nothing?: An Empirical Assessment of the Georgia Voter Identification
  Statute.” 2012. State Politics and Policy Quarterly 12(4):394-314. (Charles S. Bullock, III,
  co-author).

“Achieving Validation: Barack Obama and Black Turnout in 2008.” 2012. State
   Politics and Policy Quarterly 12:3-22. (Seth C. McKee and David Hill, co-authors).

“They Just Don’t Vote Like They Used To: A Methodology to Empirically Assess Election
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   2008.” 2011. Election Law Journal 10:103-113. (Charles S. Bullock, III, co-
   author).

“What Made Carolina Blue? In-migration and the 2008 North Carolina Presidential Vote.”
  2010. American Politics Research 38:266-302. (Seth C. McKee, co-author).

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    Social Science Quarterly 91:344-358. (Seth C. McKee, co-author).

“Trying to Thread the Needle: The Effects of Redistricting in a Georgia Congressional District.”
   2009. PS: Political Science and Politics 42:679-687. (Seth C. McKee, co-author).

“Citizen, Defend Thyself: An Individual-Level Analysis of Concealed-Weapon Permit Holders.”
   2009. Criminal Justice Studies 22:73-89. (Grant W. Neeley, co-author).

“Two Sides of the Same Coin?: Employing Granger Causality Tests in a Time Series Cross-
   Section Framework.” 2008. Political Analysis 16:324-344. (Quentin Kidd and Irwin L.
   Morris, co-authors).

“Worth a Thousand Words? : An Analysis of Georgia’s Voter Identification Statute.”
  2008. American Politics Research 36:555-579. (Charles S. Bullock, III, co-author).

“Gerrymandering on Georgia’s Mind: The Effects of Redistricting on Vote Choice in the 2006
   Midterm Election.” 2008. Social Science Quarterly 89:60-77 (Seth C. McKee, co-
   author).

“Examining Methods for Identifying Latino Voters.” 2007. Election Law Journal 6:202-208.
   (Charles S. Bullock, III, co-author).

“A Mile-Wide Gap: The Evolution of Hispanic Political Emergence in the Deep South.”
   2006. Social Science Quarterly 87:1117-1135. (Charles S. Bullock, III, co-author).

“Punch Cards, Jim Crow, and Al Gore: Explaining Voter Trust in the Electoral System in
   Georgia, 2000.” 2005. State Politics and Policy Quarterly 5:283-294. (Charles S. Bullock,
   III and Richard Clark, co-authors).

“When Southern Symbolism Meets the Pork Barrel: Opportunity for Executive Leadership.”
  2005. Social Science Quarterly 86:69-86. (Charles S. Bullock, III, co-author).

“The Reintroduction of the Elephas maximus to the Southern United States: The Rise of
   Republican State Parties, 1960-2000.” 2004. American Politics Research 31:68-101.
   (Quentin Kidd and Irwin Morris, co-authors).




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“One Person, [No Vote; One Vote; Two Votes…]: Voting Methods, Ballot Types, and
   Undervote Frequency in the 2000 Presidential Election.” 2002. Social Science Quarterly
   83:981-993. (Charles S. Bullock, III, co-author).

“On the Prospect of Linking Religious Right Identification with Political Behavior:
   Panacea or Snipe Hunt?” 2002. Journal for the Scientific Study of Religion 41:697-710.
   (Mark C. Smith, co-author).

“The Key Issue: Constituency Effects and Southern Senators’ Roll-Call Voting on Civil Rights.”
   2001. Legislative Studies Quarterly 26: 599-621. (Quentin Kidd and Irwin Morris, co-
   authors).

“Packin’ in the Hood?: Examining Assumptions Underlying Concealed-Handgun Research.”
   2000. Social Science Quarterly 81:523-537. (Grant Neeley, co-author).

“Brother, Can You Spare a Dime? Racial/Ethnic Context and the Anglo Vote on Proposition
   187.” 2000. Social Science Quarterly 81:194-206. (Irwin Morris, co-author).

“Penny Pinching or Politics? The Line-Item Veto and Military Construction Appropriations.”
   1999. Political Research Quarterly 52:753-766. (Irwin Morris and Grant Neeley, co-authors).

“Of Byrds[s] and Bumpers: Using Democratic Senators to Analyze Political Change in the
  South, 1960-1995.” 1999. American Journal of Political Science 43:465-487. (Quentin Kidd
  and Irwin Morris, co-authors).

“Bugs in the NRC’s Doctoral Program Evaluation Data: From Mites to Hissing Cockroaches.”
   1998. PS 31:829-835. (Nelson Dometrius, Quentin Kidd, and Kurt Shirkey, co-authors).

“Boll Weevils and Roll-Call Voting: A Study in Time and Space.” 1998. Legislative Studies
   Quarterly 23:245-269. (Irwin Morris, co-author).

“Give Us Your Tired, Your Poor,...But Make Sure They Have a Green Card: The Effects of
   Documented and Undocumented Migrant Context on Anglo Opinion Towards Immigration.”
   1998. Political Behavior 20:1-16. (Irwin Morris, co-author).

“¡Quedate o Vente!: Uncovering the Determinants of Hispanic Public Opinion Towards
   Immigration.” 1997. Political Research Quarterly 50:627-647. (Irwin Morris and Kurt
   Shirkey, co-authors).

“¿Amigo o Enemigo?: Context, Attitudes, and Anglo Public Opinion toward Immigration.”
   1997. Social Science Quarterly 78: 309-323. (Irwin Morris, co-author).


Invited Publications:
“Race and the Ideological Transformation of the Democratic Party: Evidence from the Bayou
   State.” 2005. American Review of Politics 25:67-78.


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Book Chapters:
“The 2020 Presidential Nomination Process.” 2021. In The 2020 Presidential Election
   in the South, eds. Branwell DuBose Kapeluck and Scott E. Buchanan. Lanham, MD:
   Rowman & Littlefield. (Aaron A. Hitefield, co-author).

“Texas: A Shifting Republican Terrain.” 2021. In The New Politics of the Old South, 7th ed.,
   Charles S. Bullock, III and Mark J. Rozell, editors. New York: Rowman and
   Littlefield Publishers, Inc. (Seth C. McKee, co-author).

“Texas: Big Red Rides On.” 2018. In The New Politics of the Old South, 6th ed.,
   Charles S. Bullock, III and Mark J. Rozell, editors. New York: Rowman and
   Littlefield Publishers, Inc. (Seth C. McKee, co-author).

“The Participatory Consequences of Florida Redistricting.” 2015. In Jigsaw Puzzle
   Politics in the Sunshine State, Seth C. McKee, editor. Gainesville, FL: University of Florida
   Press. (Danny Hayes and Seth C. McKee, co-authors).

“Texas: Political Change by the Numbers.” 2014. In The New Politics of the Old South, 5th ed.,
   Charles S. Bullock, III and Mark J. Rozell, editors. New York: Rowman and
   Littlefield Publishers, Inc. (Seth C. McKee, co-author).

“The Republican Party in the South.” 2012. In Oxford Handbook of Southern Politics, Charles S.
   Bullock, III and Mark J. Rozell, editors. New York: Oxford University Press. (Quentin Kidd
   and Irwin Morris, co-authors).

“The Reintroduction of the Elephas maximus to the Southern United States: The Rise of
   Republican State Parties, 1960-2000.” 2010. In Controversies in Voting Behavior, 5th ed.,
   David Kimball, Richard G. Niemi, and Herbert F. Weisberg, editors. Washington, DC: CQ
   Press. (Quentin Kidd and Irwin Morris, co-authors).
   [Reprint of 2004 APR article with Epilogue containing updated analysis and other original
   material.]

“The Texas Governors.” 1997. In Texas Policy and Politics, Mark Somma, editor. Needham
   Heights, MA: Simon & Schuster.


Book Reviews:
The Resilience of Southern Identity: Why the South Still Matters in the Minds of Its People. 2018.
       Reviewed for The Journal of Southern History.


Other Publications:
“Provisionally Admitted College Students: Do They Belong in a Research University?” 1998. In
   Developmental Education: Preparing Successful College Students, Jeanne Higbee and
   Patricia L. Dwinell, editors. Columbia, SC: National Resource Center for the First-Year
   Experience & Students in Transition (Don Garnett, co-author).


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NES Technical Report No. 52. 1994. “The Reliability, Validity, and Scalability of the Indicators
  of Gender Role Beliefs and Feminism in the 1992 American National Election Study: A
  Report to the ANES Board of Overseers.” (Sue Tolleson-Rinehart, Douglas R. Davenport,
  Terry L. Gilmour, William R. Moore, Kurt Shirkey, co-authors).


Grant-funded Research (UGA):
Co-Principal Investigator. “Georgia Absentee Ballot Signature Verfication Study.” Budget:
$36,950. 2021. (with Audrey Haynes and Charles Stewart III). Funded by the Georgia Secretary
of State.

Co-Principal Investigator. “The Integrity of Mail Voting in the 2020 Election.” Budget:
$177,080. (with Lonna Atkeson and Robert Stein). Funded by the National Science Foundation.

Co-Principal Investigator. “Georgia Voter Verification Study.” Budget: $52,060. 2020. (with
Audrey Haynes). Funded by Center for Election Innovation and Research.

Co-Principal Investigator. “An Examination of Non-Precinct Voting in the State of Georgia.”
Budget: $47,000. October 2008-July 2009. (with Charles S. Bullock, III). Funded by the Pew
Charitable Trust.

Co-Principal Investigator. “The Best Judges Money Can Buy?: Campaign Contributions and the
Texas Supreme Court.” (SES-0615838) Total Budget: $166,576; UGA Share: $69,974.
September 2006-August 2008. (with Craig F. Emmert). Funded by the National Science
Foundation. REU Supplemental Award (2008-2009): $6,300.

Principal Investigator. “Payola Justice or Just Plain ‘Ole Politics Texas-Style?: Campaign
Finance and the Texas Supreme Court.” $5,175. January 2000-Januray 2001. Funded by the
University of Georgia Research Foundation, Inc.

Curriculum Grants (UGA):
Learning Technology Grant: “Converting Ideas Into Effective Action: An Interactive Computer
and Classroom Simulation for the Teaching of American Politics.” $40,000. January-December
2004. (with Loch Johnson). Funded by the Office of Instructional Support and Technology,
University of Georgia.


Dissertation:
“Capturing Bubba's Heart and Mind: Group Consciousness and the Political Identification of
   Southern White Males, 1972-1994.”

Chair: Professor Sue Tolleson-Rinehart




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Papers and Activities at Professional Meetings:
“Rural Voters in Southern U.S. House Elections.” 2021. (with Seth C. McKee). Presented at the
   Virtual American Political History Conference. University of Georgia. Athens, GA.

“Mail It In: An Analysis of the Peach State’s Response to the Coronavirus Pandemic.” 2020.
  (with Audrey Haynes). Presented at the Election Science, Reform, and Administrative
  Conference. Gainesville, FL. [Virtually Presented].

“Presidential Republicanism and Democratic Darn Near Everything Else.” 2020. (with Seth C.
   McKee). Presented at the Citadel Southern Politics Symposium. Charleston, SC.

“Why Georgia, Why? Peach State Residents’ Perceptions of Voting-Related Improprieties and
  their Impact on the 2018 Gubernatorial Election.” 2019. (with Seth C. McKee). Presented at
  the Election Science, Reform, and Administrative Conference. Philadelphia, PA.

“The Demise of White Class Polarization and the Newest American Politics.” 2019. (with Seth
   C. McKee). Presented at the Annual Meeting of the Southern Political Science Association.
   Austin, TX.

“The Geography of Latino Growth in the American South.” 2018. (with Seth C. McKee). State
   Politics and Policy Conference. State College, PA.

“A History and Analysis of Black Representation in Southern State Legislatures.” 2018. (with
   Charles S. Bullock, III, William D. Hicks, Seth C. McKee, Adam S. Myers, and Daniel A.
   Smith). Presented at the Citadel Symposium on Southern Politics. Charleston, SC.

Discussant. Panel titled “Southern Distinctiveness?” 2018. The Citadel Symposium on Southern
   Politics. Charleston, SC.

Roundtable Participant. Panel titled “The 2018 Elections.” 2018. The Citadel Symposium on
   Southern Politics. Charleston, SC.

“Still Fighting the Civil War?: Southern Opinions on the Confederate Legacy.” 2018. (with
    Christopher A. Cooper, Scott H. Huffmon, Quentin Kidd, H. Gibbs Knotts, and Seth C.
    McKee). The Citadel Symposium on Southern Politics. Charleston, SC.

“Tracking Hispanic Growth in the American South.” 2018. (with Seth C. McKee). Presented at
   the Annual Meeting of the Southern Political Science Association. New Orleans, LA.

“An Assessment of Online Voter Registration in Georgia.” 2017. (with Greg Hawrelak and Colin
   Phillips). Presented at the Annual Meeting of Election Sciences, Reform, and
   Administration. Portland, Oregon.

Moderator. Panel titled “What Happens Next.” 2017. The Annual Meeting of Election Sciences,
  Reform, and Administration. Portland, Oregon.



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“Election Daze: Time of Vote, Mode of Voting, and Voter Preferences in the 2016 Presidential
   Election.” 2017. (with Seth C. McKee and Dan Smith). Presented at the Annual Meeting of
   the State Politics and Policy Conference. St. Louis, MO.

“Palmetto Postmortem: Examining the Effects of the South Carolina Voter Identification
   Statute.” 2017. (with Scott E. Buchanan). Presented at the Annual Meeting of the
   Southern Political Science Association. New Orleans, LA.

Panel Chair and Presenter. Panel titled “Assessing the 2016 Presidential Election.” 2017. UGA
   Elections Conference. Athens, GA.

Roundtable Discussant. Panel titled “Author Meets Critics: Robert Mickey's Paths Out of Dixie.”
   2017. The Annual Meeting of the Southern Political Science Association. New Orleans,
   LA.

“Out of Step and Out of Touch: The Matter with Kansas in the 2014 Midterm Election.” (with
   Seth C. McKee and Ian Ostrander). 2016. Presented at the Annual Meeting of the
   Southern Political Science Association. San Juan, Puerto Rico.

“Contagious Republicanism in North Carolina and Louisiana, 1966-2008.”(with Jamie
   Monogan). 2016. Presented at the Citadel Symposium on Southern Politics. Charleston,
   SC.

“The Behavioral Implications of Racial Resentment in the South: The Intervening Influence of
   Party.” (with Quentin Kidd and Irwin L. Morris). 2016. Presented at the Citadel
   Symposium on Southern Politics. Charleston, SC.

Discussant. Panel titled “Partisan Realignment in the South.” 2016. The Citadel
   Symposium on Southern Politics. Charleston, SC.

“Electoral Implications of Racial Resentment in the South: The Influence of Party.” (with
   Quentin Kidd and Irwin L. Morris). 2016. Presented at the Annual Meeting of the
   American Political Science Association. Philadelphia, PA.

“Racial Resentment and the Tea Party: Taking Regional Differences Seriously.” (with Quentin
   Kidd an Irwin L. Morris). 2015. Poster presented at the Annual Meeting of the American
   Political Science Association. San Francisco, CA.

“Race and the Tea Party in the Palmetto State: Tim Scott, Nikki Haley, Bakari Sellers and the
   2014 Elections in South Carolina.” (with Quentin Kidd an Irwin L. Morris). 2015. Presented
   at the Annual Meeting of the Southern Political Science Association. New Orleans, LA.

Participant. Roundtable on the 2014 Midterm Elections in the Deep South. Annual Meeting of
    the Southern Political Science Association. New Orleans, LA.




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“Race and the Tea Party in the Old Dominion: Split-Ticket Voting in the 2013 Virginia
   Elections.” (with Irwin L. Morris and Quentin Kidd). 2014. Paper presented at the Citadel
   Symposium on Southern Politics. Charleston, SC.

“Race and the Tea Party in the Old Dominion: Down-Ticket Voting and Roll-Off in the 2013
   Virginia Elections.” (with Irwin L. Morris and Quentin Kidd). 2014. Paper presented at the
   Annual Meeting of the Southern Political Science Association. New Orleans, LA.

“Tea Leaves and Southern Politics: Explaining Tea Party Support Among Southern
   Republicans.” (with Irwin L. Morris and Quentin Kidd). 2013. Paper presented at the Annual
   Meeting of the Southern Political Science Association. Orlando, FL.

“The Tea Party and the Southern GOP.” (with Irwin L. Morris and Quentin Kidd). 2012.
   Research presented at the Effects of the 2012 Elections Conference. Athens, GA.

“Black Mobilization in the Modern South: When Does Empowerment Matter?” (with Irwin L.
   Morris and Quentin Kidd). 2012. Paper presented at the Citadel Symposium on Southern
   Politics. Charleston, SC.

“The Legislature Chooses a Governor: Georgia’s 1966 Gubernatorial Election.” (with Charles S.
   Bullock, III). 2012. Paper presented at the Citadel Symposium on Southern Politics.
   Charleston, SC.

“One-Stop to Victory? North Carolina, Obama, and the 2008 General Election.” (with Justin
   Bullock, Paul Carlsen, Perry Joiner, and Mark Owens). 2011. Paper presented at the Annual
   Meeting of the Southern Political Science Association. New Orleans.

“Redistricting and Turnout in Black and White.” (with Seth C. McKee and Danny Hayes). 2011.
   Paper presented the Annual Meeting of the Midwest Political Science Association. Chicago,
   IL.

“One-Stop to Victory? North Carolina, Obama, and the 2008 General Election.” (with Justin
   Bullock, Paul Carlsen, Perry Joiner, Jeni McDermott, and Mark Owens). 2011. Paper
   presented at the Annual Meeting of the Midwest Political Science Association Meeting.
   Chicago, IL.

“Strategic Voting in the 2010 Florida Senate Election.” (with Seth C. McKee). 2011. Paper
    Presented at the Annual Meeting of the Florida Political Science Association. Jupiter, FL.

“The Republican Bottleneck: Congressional Emergence Patterns in a Changing South.” (with
   Christian R. Grose and Seth C. McKee). Paper presented at the Annual Meeting of the
   Southern Political Science Association. New Orleans, LA.

“Capturing the Obama Effect: Black Turnout in Presidential Elections.” (with David Hill and
   Seth C. McKee) 2010. Paper presented at the Annual Meeting of the Florida Political Science
   Association. Jacksonville, FL.


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“The Republican Bottleneck: Congressional Emergence Patterns in a Changing South.” (with
   Seth C. McKee and Christian R. Grose). 2010. Paper presented at the Citadel Symposium on
   Southern Politics. Charleston, SC.

“Black Mobilization and Republican Growth in the American South: The More Things
   Change the More They Stay the Same?” (with Quentin Kidd and Irwin L. Morris). 2010.
   Paper presented at the Citadel Symposium on Southern Politics. Charleston, SC.

“Unwelcome Constituents: Redistricting and Incumbent Vote Shares.” (with Seth C. McKee).
   2010. Paper presented at the Annual Meeting of the Southern Political Science Association.
      Atlanta, GA.

“Black Mobilization and Republican Growth in the American South: The More Things
   Change the More They Stay the Same?” (with Quentin Kidd and Irwin L. Morris). 2010.
   Paper presented at the Annual Meeting of the Southern Political Science Association.
   Atlanta, GA.

“The Impact of Efforts to Increase Early Voting in Georgia, 2008.” (With Charles S. Bullock,
   III). 2009. Presentation made at the Annual Meeting of the Georgia Political Science
   Association. Callaway Gardens, GA.

“Encouraging Non-Precinct Voting in Georgia, 2008.” (With Charles S. Bullock, III). 2009.
   Presentation made at the Time-Shifting The Vote Conference. Reed College, Portland, OR.

“What Made Carolina Blue? In-migration and the 2008 North Carolina Presidential Vote.” (with
  Seth C. McKee). 2009. Paper presented at the Annual Meeting of the Florida Political
  Science Association. Orlando, FL.

“Swimming with the Tide: Redistricting and Voter Choice in the 2006 Midterm.” (with Seth C.
   McKee). 2009. Paper presented at the Annual Meeting of the Midwest Political Science
   Association. Chicago.

“The Effect of the Partisan Press on U.S. House Elections, 1800-1820.” (with Jamie Carson).
   2008. Paper presented at the Annual Meeting of the History of Congress Conference.
   Washington, D.C.

“Backward Mapping: Exploring Questions of Representation via Spatial Analysis of Historical
   Congressional Districts.” (Michael Crespin). 2008. Paper presented at the Annual Meeting of
   the History of Congress Conference. Washington, D.C.

“The Effect of the Partisan Press on U.S. House Elections, 1800-1820.” (with Jamie Carson).
   2008. Paper presented at the Annual Meeting of the Midwest Political Science Association.
   Chicago.




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“The Rational Southerner: The Local Logic of Partisan Transformation in the South.” (with
   Quentin Kidd and Irwin L. Morris). 2008. Paper presented at the Citadel Symposium on
   Southern Politics. Charleston, SC.

“Stranger Danger: The Influence of Redistricting on Candidate Recognition and Vote Choice.”
    (with Seth C. McKee). 2008. Paper presented at the Annual Meeting of the Southern Political
    Science Association. New Orleans.

“Backward Mapping: Exploring Questions of Representation via Spatial Analysis of Historical
   Congressional Districts.” (with Michael Crespin). 2007. Paper presented at the Annual
   Meeting of the American Political Science Association. Chicago.

“Worth a Thousand Words? : An Analysis of Georgia’s Voter Identification Statute.” (with
  Charles S. Bullock, III). 2007. Paper presented at the Annual Meeting of the Southwestern
  Political Science Association. Albuquerque.

“Gerrymandering on Georgia’s Mind: The Effects of Redistricting on Vote Choice in the 2006
   Midterm Election.” (with Seth C. McKee). 2007. Paper presented at the Annual Meeting of
   The Southern Political Science Association. New Orleans.

“Personalismo Politics: Partisanship, Presidential Popularity and 21st Century Southern
   Politics.” (with Quentin Kidd and Irwin L. Morris). 2006. Paper presented at the
   Annual Meeting of the American Political Science Association. Philadelphia.

“Explaining Soft Money Transfers in State Gubernatorial Elections.” (with William
   Gillespie and Troy Gibson). 2006. Paper presented at the Annual Meeting of the
   Midwest Political Science Association. Chicago.

“Two Sides of the Same Coin?: A Panel Granger Analysis of Black Electoral Mobilization
   and GOP Growth in the South, 1960-2004.” (with Quentin Kidd and Irwin L.
   Morris). 2006. Paper presented at the Citadel Symposium on Southern Politics.
   Charleston, SC.

“Hispanic Political Emergence in the Deep South, 2000-2004.” (With Charles S. Bullock,
   III). 2006. Paper presented at the Citadel Symposium on Southern Politics.
   Charleston.

“Black Mobilization and the Growth of Southern Republicanism: Two Sides of the Same Coin?”
   (with Quentin Kidd and Irwin L. Morris). 2006. Paper presented at the Annual Meeting of
   the Southern Political Science Association. Atlanta.

“Exploring the Linkage Between Black Turnout and Down-Ticket Challenges to Black
   Incumbents.” (With Troy M. Gibson). 2006. Paper presented at the Annual Meeting of the
   Southern Political Science Association. Atlanta.




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“Race and the Ideological Transformation of the Democratic Party: Evidence from the Bayou
   State.” 2004. Paper presented at the Biennial Meeting of the Citadel Southern Politics
   Symposium. Charleston.

“Tracing the Evolution of Hispanic Political Emergence in the Deep South.” 2004. (Charles S.
   Bullock, III). Paper presented at the Biennial Meeting of the Citadel Southern Politics
   Symposium. Charleston.

“Much Ado about Something? Religious Right Status in American Politics.” 2003. (With Mark
  C. Smith). Paper presented at the Annual Meeting of the Midwest Political Science
  Association. Chicago.

“Tracking the Flow of Non-Federal Dollars in U. S. Senate Campaigns, 1992-2000.” 2003.
   (With Janna Deitz and William Gillespie). Paper presented at the Annual Meeting of the
   Midwest Political Science Association. Chicago.

“PAC Cash and Votes: Can Money Rent a Vote?” 2002. (With William Gillespie). Paper
   presented at the Annual Meeting of the Southern Political Science Association. Savannah.

“What Can Gubernatorial Elections Teach Us About American Politics?: Exploiting and
  Underutilized Resource.” 2002. (With Quentin Kidd and Irwin L. Morris). Paper presented at
  the Annual Meeting of the American Political Science Association. Boston.

“I Know I Voted, But I’m Not Sure It Got Counted.” 2002. (With Charles S. Bullock, III and
    Richard Clark). Paper presented at the Annual Meeting of the Southwestern Social Science
    Association. New Orleans.

“Race and Southern Gubernatorial Elections: A 50-Year Assessment.” 2002. (With Quentin
   Kidd and Irwin Morris). Paper presented at the Biennial Southern Politics Symposium.
   Charleston, SC.

“Top-Down or Bottom-Up?: An Integrated Explanation of Two-Party Development in the South,
   1960-2000.” 2001. Paper presented at the Annual Meeting of the Southern Political Science
   Association. Atlanta.

“Cash, Congress, and Trade: Did Campaign Contributions Influence Congressional Support for
   Most Favored Nation Status in China?” 2001. (With William Gillespie). Paper presented at
   the Annual Meeting of the Southwestern Social Science Association. Fort Worth.

“Key 50 Years Later: Understanding the Racial Dynamics of 21st Century Southern Politics”
   2001. (With Quentin Kidd and Irwin Morris). Paper presented at the Annual Meeting of the
   Southern Political Science Association. Atlanta.

“The VRA and Beyond: The Political Mobilization of African Americans in the Modern South.”
   2001. (With Quentin Kidd and Irwin Morris). Paper presented at the Annual Meeting of the
   American Political Science Association. San Francisco.


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“Payola Justice or Just Plain ‘Ole Politics Texas Style?: Campaign Finance and the Texas
   Supreme Court.” 2001. (With Craig Emmert). Paper presented at the Annual Meeting of the
   Midwest Political Science Association. Chicago.

“The VRA and Beyond: The Political Mobilization of African Americans in the Modern South.”
   2000. (With Irwin Morris and Quentin Kidd). Paper presented at the Annual Meeting of the
   Southern Political Science Association. Atlanta.

“Where Have All the Republicans Gone? A State-Level Study of Southern Republicanism.”
  1999. (With Irwin Morris and Quentin Kidd). Paper presented at the Annual Meeting of the
  Southern Political Science Association. Savannah.

“Elephants in Dixie: A State-Level Analysis of the Rise of the Republican Party in the Modern
   South.” 1999. (With Irwin Morris and Quentin Kidd). Paper presented at the Annual
   Meeting of the American Political Science Association. Atlanta.

“Stimulant to Turnout or Merely a Convenience?: Developing an Early Voter Profile.” 1998.
    (With Quentin Kidd and Grant Neeley). Paper presented at the Annual Meeting of the
    Southern Political Science Association. Atlanta.

“The Impact of the Texas Concealed Weapons Law on Crime Rates: A Policy Analysis for the
   City of Dallas, 1992-1997.” 1998. (With Grant W. Neeley). Paper presented to the Annual
   Meeting of the Midwest Political Science Association. Chicago.

“Analyzing Anglo Voting on Proposition 187: Does Racial/Ethnic Context Really Matter?”
   1997. (With Irwin Morris). Paper presented to the Annual Meeting of the Southern Political
   Science Association. Norfolk.

“Capturing Bubba's Heart and Mind: Group Consciousness and the Political Identification of
   Southern White Males, 1972-1994.” 1997. Paper presented at the Annual Meeting of the
   Midwest Political Science Association. Chicago.

“Of Byrds[s] and Bumpers: A Pooled Cross-Sectional Study of the Roll-Call Voting Behavior of
   Democratic Senators from the South, 1960-1995.” 1996. (With Quentin Kidd and Irwin
   Morris). Paper presented to the Annual Meeting of the Southern Political Science
   Association. Atlanta.

“Pest Control: Southern Politics and the Eradication of the Boll Weevil.” 1996. (With Irwin
   Morris). Paper presented to the Annual Meeting of the American Political Science
   Association. San Francisco.

“Fit for the Greater Functions of Politics: Gender, Participation, and Political Knowledge.” 1996.
    (With Terry Gilmour, Kurt Shirkey, and Sue Tolleson-Rinehart). Paper presented to the
    Annual Meeting of the Midwest Political Science Association. Chicago.



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“¿Amigo o Enemigo?: Racial Context, Attitudes, and White Public Opinion on Immigration.”
   1996. (With Irwin Morris). Paper presented to the Annual Meeting of the Midwest Political
   Science Association. Chicago.

“¡Quedate o Vente!: Uncovering the Determinants of Hispanic Public Opinion Towards
   Immigration.” 1996. (With Irwin Morris and Kurt Shirkey). Paper presented to the Annual
   Meeting of the Southwestern Political Science Association. Houston.

“Downs Meets the Boll Weevil: When Southern Democrats Turn Left.” 1995. (With Irwin
   Morris). Paper presented to the Annual Meeting of the Southern Political Science
   Association. Tampa.

“¿Amigo o Enemigo?: Ideological Dispositions of Whites Residing in Heavily Hispanic Areas.”
   1995. (With Irwin Morris). Paper presented to the Annual Meeting of the Southern Political
   Science Association. Tampa.

Chair. Panel titled “Congress and Interest Groups in Institutional Settings.” 1995. Annual
   Meeting of the Southwestern Political Science Association. Dallas.

“Death of the Boll Weevil?: The Decline of Conservative Democrats in the House.” 1995. (With
   Kurt Shirkey). Paper presented to the Annual Meeting of the Southwestern Political Science
   Association. Dallas.

“Capturing Bubba’s Heart and Mind: The Political Identification of Southern White Males.”
   1994. (With Sue Tolleson-Rinehart). Paper presented to the Annual Meeting of the Southern
   Political Science Association. Atlanta.


Areas of Teaching Competence:
American Politics: Behavior and Institutions
Public Policy
Scope, Methods, Techniques

Teaching Experience:
University of Georgia, 1999-present.
   Graduate Faculty, 2003-present.
   Provisional Graduate Faculty, 2000-2003.
   Distance Education Faculty, 2000-present.

Texas Tech University, 1993-1999.
   Visiting Faculty, 1997-1999.
   Graduate Faculty, 1998-1999.
   Extended Studies Faculty, 1997-1999.
   Teaching Assistant, 1993-1997.




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Courses Taught:
Undergraduate:
   American Government and Politics, American Government and Politics (Honors), Legislative
   Process, Introduction to Political Analysis, American Public Policy, Political Psychology,
   Advanced Simulations in American Politics (Honors), Southern Politics, Southern Politics
   (Honors), Survey Research Internship

Graduate:
   Election Administration and Related Issues (Election Sciences), Political Parties and Interest
   Groups, Legislative Process, Seminar in American Politics, Southern Politics; Publishing for
   Political Science


Editorial Boards:
Social Science Quarterly. Member. 2011-present.

Election Law Journal. Member. 2013-present.

Professional Service:
Listed expert. MIT Election Data and Science Lab.

Keynote Address. 2020 Symposium on Southern Politics. The Citadel. Charleston, SC.


Institutional Service (University-Level):
University Information Technology Committee, 2022-present.

University Promotion and Tenure Committee, 2019-2022.

University Program Review Committee, 2009-2011.
   Chair, 2010-2011
   Vice-Chair, 2009-2010.

Graduate Council, 2005-2008.
   Program Committee, 2005-2008.
   Chair, Program Committee, 2007-2008.

University Libraries Committee, 2004-2014.

Search Committee for University Librarian and Associate Provost, 2014.




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